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              IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF TEXAS
                       AMARILLO DIVISION

                                      §
UNITED STATES OF AMERICA,             §
ex rel. ALEX DOE, Relator,            §
                                      §
THE STATES OF TEXAS,                  §
ex rel. ALEX DOE, Relator,            §
                                      §   Civil Action No. 2-21-CV-022-Z
THE STATE OF LOUISIANA,               §
ex rel. ALEX DOE, Relator,            §   CASE FILED UNDER SEAL
                                      §
      Plaintiffs,                     §
v.                                    §
                                      §
PLANNED PARENTHOOD                    §
FEDERATION OF AMERICA, INC.,          §
PLANNED PARENTHOOD GULF               §
COAST, INC., PLANNED                  §
PARENTHOOD OF GREATER TEXAS,          §
INC., PLANNED PARENTHOOD              §
SOUTH TEXAS, INC., PLANNED            §
PARENTHOOD CAMERON COUNTY,            §
INC., PLANNED PARENTHOOD SAN          §
ANTONIO, INC.,                        §
                                      §
      Defendants.

        STATE OF TEXAS’S COMPLAINT IN INTERVENTION

TO THE HONORABLE JUDGE MATTHEW J. KACSMARYK:

      The State of Texas, by and through the Attorney General of Texas, Ken

Paxton, (“the State”) brings this law enforcement action pursuant to the Texas
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Medicaid Fraud Prevention Act (“TMFPA”), Tex. Hum. Res. Code ch. 36. The

State files this Complaint in Intervention under Federal Rule of Civil Procedure 24,

and would respectfully show the Court as follows:

       I.      INTRODUCTION AND PROCEDURAL BACKGROUND

       1.      This is a complaint in intervention and civil law enforcement action to

recover taxpayer dollars paid to Planned Parenthood Federation of America, Inc.,

Planned Parenthood Gulf Coast, Inc., Planned Parenthood of Greater Texas, Inc.,

Planned Parenthood South Texas, Inc., Planned Parenthood Cameron County, Inc.,

and Planned Parenthood San Antonio, Inc., (collectively “Defendants” or “Planned

Parenthood”) that Planned Parenthood was not entitled to receive, and to assess civil

remedies against Planned Parenthood under the TMFPA. Specifically, Planned

Parenthood received reimbursement from Texas Medicaid to which it was not

entitled. Planned Parenthood knowingly and improperly avoided its obligation to

repay money owed to the Texas Medicaid program.

       2.      Planned Parenthood owns and operates abortion facilities and health

clinics in Texas with the purported purpose of providing medical services, delivering

pharmaceuticals, providing counseling and educational services and materials for

family planning and family planning preventative care, and providing medication and

surgical abortions. Planned Parenthood and its clinics are grantees of state and



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federal funds provided through state programs and/or directly through federal

programs, including the Medicaid program.

       3.      From February 1, 2017, and continuing through March 2021, Planned

Parenthood Defendants presented or caused to be presented thousands of claims for

payment for Medicaid services, received approximately $10 million dollars in

payments from state funds for these claims, and failed to repay the money they

received from these claims after they knew or should have known that they were not

entitled to keep the money.

       4.      In October 2015, Texas Health and Human Services Commission

Office of Inspector General (HHSC-OIG) initiated proceedings to terminate

Planned Parenthood’s Medicaid provider credentials. In December 2016, HHSC-

OIG served a final Notice of Termination on Planned Parenthood. The Notice

advised Planned Parenthood of its rights to administrative due process to contest the

termination determination. Planned Parenthood failed to exercise any of its rights

to challenge the termination, and by mid-January 2017 all of Planned Parenthood’s

deadlines to request a hearing had expired. The HHSC-OIG decision to terminate

therefore became final under Texas law by end of January 2017. 1 Tex. Admin. Code

§ 371.1703(f)(2), (7).




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       5.      Rather than avail itself of its administrative remedies, Planned

Parenthood brought suit in the United States District Court for the Western District

of Texas against HHSC-OIG seeking, among other things, temporary, preliminary,

and permanent injunctive relief enjoining the State from terminating or threatening

to terminate Planned Parenthood’s Medicaid provider agreements (“the federal

court action”).       See Planned Parenthood of Greater Tex. Family Planning and

Preventative Health Servs., Inc., et al. v. Traylor, et al., No. 1:15-cv-01058 (W.D. Tex.

2015). In January 2016, the district court issued a preliminary injunction against

Texas, enjoining the State from terminating Planned Parenthood’s Medicaid

provider agreements. Texas appealed the district court’s order, and in November

2020 the Fifth Circuit issued an en banc opinion reversing the district court and

vacating the injunction. In December 2020 the Fifth Circuit mandate issued,

effectively ending the federal court action.

       6.      On December 15, 2020, the same day the Fifth Circuit’s mandate

issued vacating the preliminary injunction, Planned Parenthood sent a letter to Texas

Medicaid requesting an administrative appeal of Texas’s December 2016 decision

to terminate its enrollment as a provider.          Texas Medicaid denied Planned

Parenthood’s request as untimely. Planned Parenthood also sent a letter to Texas

Medicaid requesting a 90-day grace period to transition its patients to other



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providers. On January 4, 2021, HHSC granted a 30-day grace period, through

February 3, 2021.

       7.      On the last day of the grace period, February 3, 2021, Planned

Parenthood filed a Motion for Temporary Restraining Order and a request for

mandamus relief in Travis County District Court (the “State court action”). The

State court issued a Temporary Restraining Order enjoining HHSC-OIG “from

directly or indirectly terminating or otherwise interfering with Providers’

participation in the Medicaid program.” The Temporary Restraining Order was

subsequently extended twice. On March 12, 2021, the State Court denied Planned

Parenthood’s Motion for Preliminary Injunction and dismissed its request for

mandamus relief with prejudice. See Exh. 1, final order in In re Planned Parenthood,

cause no. D-1-GN-21-000528, in the 261st District Court of Travis County, Texas.

Planned Parenthood did not appeal the Order denying its Motion for Preliminary

Injunction and dismissing its mandamus action.

       8.      Planned Parenthood continued to submit requests for reimbursement

by Texas Medicaid and continued to receive payments from Texas Medicaid during

the pendency of the federal court action and the State court action, on and between

February 1, 2017, and March 12, 2021, when Planned Parenthood knew or should




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have known it was not a qualified Texas Medicaid provider by operation of Texas

law.

       9.          Planned Parenthood received reimbursements in the amount of

approximately $10 million for services delivered on and between February 1, 2017,

through March 12, 2021. Planned Parenthood has not made any attempt to repay

any of this money to Texas.

       10.         On February 5, 2021, Alex Doe (“Relator”) filed this lawsuit under seal

in the United States District Court for the Northern District of Texas, alleging

Planned Parenthood committed violations of the federal False Claims Act, 31 U.S.C.

§§ 3729 et seq. and the Louisiana Medical Assistance Programs Integrity Law, La.

Rev. Stat. §§ 46:437.1 et seq., as well as the TMFPA. Relator seeks remedies under

all three statutes. With this complaint in intervention, Texas intervenes only as to

the TMFPA allegations discussed herein.

             II.      TEXAS MEDICAID STATUTORY FRAMEWORK

       11.         Under the federal Medicaid Act, states use federal and state funds to

reimburse healthcare providers’ costs in providing medical care to certain categories

of individuals. See NFIB v. Sebelius, 567 U.S. 519, 575 (2012). As a condition of

participating in Medicaid, states must provide an administrative process for




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providers to challenge their exclusion or termination from the Medicaid program.

42 C.F.R. §§ 1002.210, 1002.213.

       12.     Accordingly, Section 32.034(a) of the Texas Human Resources Code

requires “reasonable notice and an opportunity for hearing if one is requested”

before a Medicaid contract is terminated.           See also 1 Tex. Admin. Code

§ 371.1703(e) (setting out the requirements for a termination notice).

       13.     A provider may request an administrative hearing upon receipt of a final

notice of termination. Id. § 371.1615(b)(2). But the provider does not have

unlimited time to act—the request for a hearing must be received within 15 days

after the provider received its final notice:

       A person may request an administrative hearing after receipt of a final notice
       of termination in accordance with § 371.1615 of this subchapter (relating to
       Appeals) unless the termination is required under 42 C.F.R. § 455.416. The
       OIG must receive the written request for a hearing no later than the 15 days
       after the date the person receives the notice.

Id. § 317.1703(f)(2).

       14.     If the provider does not timely request an administrative hearing, the

termination becomes “final and unappealable.” Id. § 371.1615(c). Specifically, the

termination becomes “final” 30 calendar days after service of the final notice if no

request for appeal has been timely received. Id. § 371.1617(a)(1); see also id.

§ 371.1703(g)(8) (“Unless otherwise provided in this section, the termination



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becomes final as provided in § 371.1617(a) of this subchapter (relating to Finality

and Collections.”)).

       15.     Accordingly, under Texas law, a Medicaid provider who receives a final

notice that its contract will be terminated has 15 days from receipt of the Final Notice

to request an administrative appeal. Otherwise, the termination becomes final 30

days from receipt of the Final Notice. 1 Tex. Admin. Code § 371.1617(a)(1); see also

id. § 371.1703(g)(8).

       16.     A provider whose Medicaid credentials are terminated is no longer a

“qualified” provider and is no longer eligible to seek or receive reimbursement from

Medicaid. 1 Tex. Admin. Code § 371.1705(e)(5) (“If, after the effective date of an

exclusion, an excluded person submits or causes to be submitted claims for services

or items furnished within the period of exclusion, the person may be subject to civil

monetary penalty liability”).

       17.     A provider who receives reimbursement from Texas Medicaid to

which it is not entitled is obligated to remit the payments back to the State. See Exh.

2 (Provider Agreement), § 1.3.7; Exh. 3 (excerpts from Texas Medicaid Provider

Procedures Manual), § 1.10, p. 54; see also 1 Tex. Admin. Code § 371.1703 (failure

to repay overpayments to the Medicaid program is grounds for termination of




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provider agreement); id. § 371.1655(4) (a provider who fails to repay an

overpayment within 60 days is subject to administrative sanctions).

                               III.   THE PARTIES
A.      Plaintiffs

        18.    The Plaintiffs are the State of Texas, by and through the Attorney

General of Texas, Ken Paxton, (“the State”) and relator Alex Doe (collectively,

“Plaintiffs”). As intervenor on the TMFPA allegations, Texas is lead plaintiff as to

the claims asserted under Texas law. Tex. Hum. Res. Code § 36.107(a). The United

States and Louisiana have declined intervention; therefore, Relator stands in the

shoes of the sovereigns as to federal law and Louisiana law.

B.      Defendants

        19.    Defendants Planned Parenthood Federation of America, Inc., Planned

Parenthood Gulf Coast, Inc., Planned Parenthood of Greater Texas, Inc., Planned

Parenthood South Texas, Inc., Planned Parenthood Cameron County, Inc., Planned

Parenthood San Antonio, Inc., are a system of affiliated entities operating as and

collectively referred to herein as “Planned Parenthood” or “Defendants.” Planned

Parenthood provides women’s health services and abortion services at clinics in the

State of Texas and the State of Louisiana, including Medicaid services that are the

subject of this action.




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       20.     Defendant Planned Parenthood Federation of America, Inc. (“PPFA”)

is a New York corporation that has over 50 affiliate organizations that provide health

care services and abortion services in every State, including the other Defendants in

this case. PPFA provides significant monetary support to these affiliates as well as

other types of support and control, such as directives, marketing, communications,

requirements, standards, policies, and accreditation for affiliates providing medical

care, insurance coverage, legal counsel and representation, and direct support for the

provision of healthcare services.

       21.     PPFA maintains its executive and corporate administrative offices at

123 Williams Street, Tenth Floor, New York City, New York.

       22.     Defendant Planned Parenthood Gulf Coast (“PPGC”) maintains its

executive and corporate administrative offices at 4600 Gulf Freeway, Houston,

Texas, and provides medical services at multiple clinics, including the following: (1)

Fannin Clinic in Houston, Texas; (2) Greenbriar Clinic in Stafford, Texas; (3) 1960

Clinic in Houston, Texas; (4) Southwest Clinic in Houston, Texas; (5) Greenspoint

Clinic in Houston, Texas; (6) Dickinson Clinic in Dickinson, Texas; (7) Rosenberg

Clinic in Rosenberg, Texas; (8) Prevention Park clinic; (9) Northwest clinic; (10)

Spring clinic; (11) Northville clinic; (12) Southwest clinic; (13) Stafford clinic; (14)




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Baton Rouge Clinic in Baton Rouge, Louisiana; and (15) New Orleans Clinic in New

Orleans, Louisiana.

       23.     Defendant Planned Parenthood of Greater Texas, Inc. (“PPGT”) is a

Texas corporation and an affiliate of PPFA that provides women’s health services

and abortion services at clinics in the State of Texas. PPGT and its clinics are

recipients of federal funds provided through Texas.

       24.     PPGT maintains its executive and corporate administrative offices at

7424 Greenville Avenue, Dallas, Texas, and provides medical services at the

following clinics: (1) Addison Health Center in Addison, Texas; (2) Arlington

Health Center in Arlington, Texas; (3) Bedford Health Center in Bedford, Texas;

(4) Cedar Hill Health Center in Cedar Hill, Texas; (5) North Dallas Shelburne

Health Center in Dallas, Texas; (6) South Dallas Surgical Health Services Center in

Dallas, Texas; (7) Lubbock Health Center in Lubbock, Texas; (8) Southeast Fort

Worth Health Center in Fort Worth, Texas; (9) Southwest Fort Worth health

Center in Fort Worth, Texas; (10) Southwest Fort Worth Surgical Health Services

Center in Fort Worth, Texas; (11) Mesquite Health Center in Mesquite, Texas; and

(12) Plano Health Center in Plano, Texas.

       25.     Defendant Planned Parenthood of South Texas, Inc. is a Texas

corporation and affiliate of PPFA that is a parent corporation of three other



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corporations, Defendant Planned Parenthood of Cameron County, Defendant

Planned Parenthood of San Antonio (hereinafter referred to collectively as

“PPST”), and Planned Parenthood South Texas Surgical Center, which provides

women’s health services and abortion services at clinics in the State of Texas. PPST

and its clinics are recipients of federal funds provided through Texas.

       26.     PPST maintains its executive and corporate administrative offices at

2140 Babcock Road, San Antonio, Texas and provides medical services at the

following clinics: Planned Parenthood-Harlingen in Harlingen, Texas; Planned

Parenthood-Southeast in San Antonio, Texas; Planned Parenthood-San Pedro in

San Antonio, Texas; Planned Parenthood-Northeast in San Antonio, Texas;

Planned Parenthood-Marbach in San Antonio, Texas; Planned Parenthood-South

Texas Medical Center in San Antonio, Texas; and Planned Parenthood-Brownsville

in Brownsville, Texas.

                            IV.   JURISDICTION AND VENUE

       27.     This Court has jurisdiction over this action pursuant to Tex. Hum. Res.

Code § 36.101 to recover civil remedies, and costs of suit, including reasonable

attorneys’ fees and expenses. This Court has supplemental jurisdiction over these

state law claims pursuant to 28 U.S.C. § 1367.




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                              V.    BACKGROUND

A.     Texas Medicaid Program

       28.     The state and federal governments fund health care for the poor and

mentally ill through public health assistance programs. The Medical Assistance

Program in Texas, commonly referred to as Texas Medicaid, was created to provide

medical assistance for low-income individuals and families in Texas. See generally

Tex. Gov’t Code ch. 531.

       29.     The Texas Medicaid program is a system that provides medical

products and services to qualified recipients. The program is funded jointly by the

State of Texas and the federal government. The Texas Health and Human Services

Commission (“HHSC”) administers the Texas Medicaid program and has authority

to promulgate rules and other methods of administration governing the program.

See, e.g., Tex. Gov’t Code § 531.021.

B.     Texas Medicaid Providers

       30.     Healthcare providers such as pharmacies and physicians may elect to

participate in the Texas Medicaid program. To become a Texas Medicaid Provider,

a healthcare provider must submit a Provider Enrollment Application and enter into

a Medicaid Provider Agreement with HHSC (“Provider Agreement”). See, e.g.,

Exh. 2.



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       31.     As a condition for participating in Texas Medicaid, a provider must

represent to Texas Medicaid that they will comply with the requirements of the

Texas Medicaid Provider Procedures Manual (“Provider Manual”). Providers

must further acknowledge their duties to be familiar with the Provider Manual and

to ensure that employees acting on behalf of the providers also comply with the

requirements set forth in the Provider Manual. See, e.g., Exh. 3.

       32.     Providers further agree under the Provider Agreement that they will

comply with applicable state and federal laws governing and regulating Medicaid,

and all state and federal laws and regulations related to waste, abuse, and fraud.

       33.      When approving a healthcare provider to become a Texas Medicaid

Provider, Texas Medicaid must rely upon the representations of the provider that he

or she will comply with the terms and conditions of the Provider Agreement and the

Provider Manual. Accordingly, Texas Medicaid Providers have an on-going duty to

Texas Medicaid to comply with these terms and conditions and comply with state

and federal laws when providing medical services and treatment to Texas Medicaid

patients.

                            VI.   APPLICABLE TEXAS LAW

       34.     Plaintiffs re-allege and reincorporate by reference as set forth herein the

allegations contained in Paragraphs 1 through 33 of this Complaint.



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       35.     A person commits an unlawful act as defined under the Texas Medicaid

Fraud Prevention Act, if the person:

       Knowingly makes, uses, or causes the making or use of a false record or
       statement material to an obligation to pay or transmit money or property to
       this state under the Medicaid program, or knowingly conceals or knowingly
       and improperly avoids or decreases an obligation to pay or transmit money
       or property to this state under the Medicaid program.

Tex. Hum. Res. Code § 36.002(12) (emphasis added).

Hereinafter, references to conduct as constituting “unlawful acts” mean that the

conduct being described was done by Defendants at times when one or more of the

statutory provisions set forth in this Paragraph applied and was done in ways and

through means that satisfy all the required elements of at least one applicable

statutory provision.

       VII. DEFENDANTS’ UNLAWFUL ACTS UNDER TMFPA

       36.     Plaintiffs re-allege and reincorporate by reference as set forth herein the

allegations contained in Paragraphs 1 through 35 of this Complaint.

       37.     On March 12, 2021, the Hon. Lora J. Livingston of the 261st District

Court of Travis County, Texas issued a final order dismissing Planned Parenthood’s

claims for injunctive and mandamus relief in the State court action. See Exh. 1.

Planned Parenthood did not appeal Judge Livingston’s decision. Therefore, as of

March 12, 2021, the question whether Planned Parenthood had any legal remedy to



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appeal from the State’s termination decision was resolved fully and finally as a matter

of law. Indeed, by operation of law, Planned Parenthood was effectively terminated

from Texas Medicaid, at the latest, by February 1, 2017, by which date it had failed

to exhaust its administrative remedies. Consequently, Planned Parenthood was not

entitled to retain reimbursements from Texas Medicaid for services delivered on or

after February 1, 2017. Planned Parenthood was obligated to repay to Texas

Medicaid dollars that it received in reimbursements to which it was not entitled. See

1 Tex. Admin. Code §§ 371.1655(4); 371.1703; 371.1705(e)(5); see also Exh. 2;

Exh. 3.

       38.     Planned Parenthood has received approximately $10 million in

reimbursements from Texas Medicaid for services delivered after February 1, 2017,

and before March 12, 2021.

       39.     Under the TMFPA a person commits an unlawful act if the person

“knowingly and improperly avoids an obligation to pay or transmit money . . . to

[this] State under the Medicaid program.” Tex. Hum. Res. Code § 36.002(12).

       40.     Planned Parenthood has not paid any of the $10 million back to Texas

Medicaid. Planned Parenthood was obligated to repay the overpayment within 60

calendar days of identifying it. 1 Tex. Admin. Code § 371.1655(4). Planned

Parenthood identified, or should have identified, the overpayment on March 12,



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2021, the date of Judge Livingston’s final order. Exh. 1. Planned Parenthood should

have repaid Texas Medicaid on or before May 12, 2021. It has not done so.

Accordingly, Planned Parenthood knowingly avoided its obligation to pay money to

the State and has committed an unlawful act under the TMFPA. See Tex. Hum.

Res. Code § 36.002(12).

       41.     Each day since May 12, 2021, that Planned Parenthood has avoided its

obligation to repay the Texas Medicaid is a separate unlawful act under the TMFPA.

Planned Parenthood’s unlawful acts under section 36.002(12) began on May 12,

2021 and are continuing on each subsequent day until this obligation is satisfied.

Each day Planned Parenthood fails to repay this money to Texas Medicaid, it incurs

an additional civil penalty. See, e.g., United States v. ITT Cont’l Baking Co., 420 U.S.

223 (1975); see also State v. City of Greenville, 726 S.W.2d 162 (Tex. App.—Dallas

1986, writ ref’d n.r.e.).

                  VIII. CIVIL REMEDIES UNDER THE TMFPA

       42.     Under the TMFPA, a defendant who commits an unlawful act is liable

to the State of Texas for civil remedies for each unlawful act, in some instances,

without regard to whether that violation resulted in “any loss to the Medicaid

program.” In re Xerox Corp., 555 S.W.3d 518, 533 (Tex. 2018) (citing Tex. Hum.

Res. Code § 36.052(a)(1)).



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       43.     Defendants are liable to Texas for the amount paid by Texas Medicaid

to Planned Parenthood directly or indirectly as a result of each unlawful act

committed by Planned Parenthood. Tex. Hum. Res. Code § 36.052(a)(1).

       44.     Defendants are liable to Texas for interest on the amount paid by Texas

Medicaid to Planned Parenthood directly or indirectly as a result of each unlawful

act committed by Planned Parenthood. Tex. Hum. Res. Code § 36.052(a)(2).

Interest is due at the prejudgment interest rate from the date of the payment by

Medicaid resulting from the unlawful act until the State recovers the amount of the

payment from Defendants. Id.

       45.     Defendants are liable to Texas for civil penalties for each unlawful act

found by the trier of fact, in an amount not less than $5,500 per unlawful act and not

more than $11,000 (or the maximum amount provided by 31 U.S.C. § 3729(a)) per

unlawful act. Tex. Hum. Res. Code § 36.052(a)(3)(B).

       46.     Defendants are liable to Texas for two times the amount described in

section 36.052(a)(1). Tex. Hum. Res. Code § 36.052(a)(4).

                                IX.   JURY DEMAND

       47.      Plaintiffs respectfully request a trial by jury on all claims pursuant to

Federal Rule of Civil Procedure 38.




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                                    X.     PRAYER

       48.     The State of Texas asks that judgment be entered upon trial of this case

in favor of the State and Relator against Defendants to the maximum extent allowed

by law.

       49.     The State of Texas asks that it recover from Defendants under the

TMFPA:

               A.     the amount of any payment or the value of any monetary or in-
                      kind benefit provided under the Medicaid program, directly or
                      indirectly, as a result of the unlawful acts, including any payment
                      made to a third party;

               B.     two times the amount of the payment or the value of the benefit
                      described above;

               C.     civil penalties in an amount not less than $5,500 or more than
                      $11,000 (or the maximum amount provided by 31 U.S.C.
                      § 3729(a)) for each unlawful act committed by Defendants;

               D.     interest on the amount of the payment or the value of the benefit
                      described in subsection (A) above at the prejudgment interest
                      rate in effect on the day the payment or benefit was received or
                      paid, for the period from the date the benefit was received or paid
                      to the date that the state recovers the amount of the payment or
                      value of the benefit;

               E.     expenses, costs, and attorneys’ fees; and

               F.     post-judgment interest at the legal rate.

       50.     Plaintiffs seek monetary relief in excess of $1,000,000.

       51.     The Relator asks that he be awarded:

               A.     expenses, costs and attorneys’ fees;

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               B.     Relator’s share as provided by the TMFPA; and

               C.     Such other and further relief to which Relator may show himself
                      entitled, either at law or in equity.




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                                   Respectfully submitted,

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                            CERTIFICATE OF SERVICE
       I hereby certify that on January 6, 2022 a true and correct copy of the foregoing
document was served on the following persons via electronic mail:

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